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 1   M. Elizabeth Graham, CA 143085
     Grant & Eisenhofer P.A.
 2
     One Market Street
 3   Spear Tower, Suite 3600
     San Francisco, CA 94105
 4
     T: (415) 293-8210
 5   F: (415) 789-4367
     egraham@gelaw.com
 6
     [Additional Counsel Listed on Signature Page]
 7
                           UNITED STATES DISTRICT COURT
 8
                        SOUTHERN DISTRICT OF CALIFORNIA
 9
10   FLOWERS BY ADELAIDE, INC.                       Case No. '20CV2344 DMS AHG
11                      Plaintiff,
12         v.                                        CLASS ACTION
13   THE HARTFORD FINANCIAL                          1. DECLARATORY JUDGMENT
14   SERVICES GROUP, INC.                            2. BREACH OF CONTRACT
     and SENTINEL INSURANCE                          3. BAD FAITH BREACH OF
15   COMPANY, LIMITED,                                  CONTRACT AND BREACH
                                                        OF THE DUTY OF GOOD
16                      Defendants.                     FAITH AND FAIR DEALING

17                                                   JURY TRIAL DEMANDED
18
                               CLASS ACTION COMPLAINT
19
           Plaintiff Flowers by Adelaide, Inc. (“Adelaide” or “Plaintiff”), both individually
20
     and on behalf of all others similarly situated, files this class action Complaint against
21
     Defendants The Hartford Financial Services Group Inc. and Sentinel Insurance
22
     Company, Limited (collectively “Defendants” or “Hartford”), and in support of its
23
     claims states the following on information and belief based on reasonable investigation
24
     and discovery, except where specifically identified as being based on personal
25
     knowledge:
26
27
28

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 1                                      INTRODUCTION
 2         1.     On personal knowledge, Adelaide is a corporation operating as a retail
 3   florist with a location in La Jolla, California.
 4         2.     To protect its properties and income from the operation of its businesses,
 5   Adelaide purchased a Spectrum Business Owner’s commercial insurance policy issued
 6   by Hartford bearing policy numbers 72 SBA BB3357 DX, (“Spectrum Policy”). A
 7   true and correct copy of the policy is attached here to as Exhibit A.
 8         3.     Under the Spectrum Policy, Hartford is responsible for receiving and
 9   managing claims and loss notices, responding to questions about insurance and
10   coverage and paying claims for covered losses.
11         4.     The Spectrum Policy is a bilateral contract: Plaintiff agreed to pay
12   premiums to Hartford in exchange for Hartford’s promises of coverage for all risks of
13   loss except those specifically and unambiguously excluded.
14         5.     Plaintiff reasonably expected that claims for loss of business income and
15   extra expenses arising from the inability to physically use its insured premises would
16   be paid unless specifically and unambiguously excluded.
17         6.     Among other types of coverage, the Spectrum Policy protects Plaintiff
18   against an actual loss of business income due to a “suspension” of the business’s
19   “operations” due to direct physical loss of or damage to the insured premises.
20         7.     Specifically, the Special Property Coverage Form (SS 00 07 07 05)
21   endorsement to the Spectrum Policy protects Plaintiff against the actual loss of
22   business income due to a suspension of Plaintiff’s operations. Along with this business
23   income coverage, Plaintiff also had in effect “Extra Expense” coverage under which
24   Hartford promised to pay necessary expenses Plaintiff incurred during a period of
25   restoration that it would not have otherwise incurred if there had been no direct physical
26   loss of or physical damage to the insured premises.
27
28

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 1              8.       Additionally, the Special Property Coverage Form (SS 00 07 07 05)
 2   endorsement provides “Civil Authority” coverage, under which Hartford promised to
 3   pay for loss of business income sustained when the action of a civil authority prohibits
 4   access to the insured premises.
 5              9.       Plaintiff duly complied with its obligations under the Spectrum Policy,
 6   and timely paid the requisite premiums.
 7              10.      On March 19, 2020, the Governor of the State of California issued an
 8   Executive Order requiring that all non-essential businesses in the state close in order
 9   to slow the spread of COVID-19 in the state.1
10              11.      As a result of this and other local government orders, Adelaide was forced
11   to suspend the physical use of its insured premises in California for purposes of
12   conducting its business activities.
13              12.      As a result of the Orders of the various civil authorities, Plaintiff suffered,
14   and/or continues to suffer, significant and injurious losses and expenses directly related
15   to the inability to use the physical locations covered by the Spectrum Policy.
16              13.      The Spectrum Policy obligated Hartford to provide coverage for, and to
17   pay, business income losses and extra expense losses resulting from the suspension of
18   Plaintiff’s operations, including suspensions resulting from actions of civil authorities.
19   Adelaide was actively discouraged from submitting a formal claim for coverage by
20   insurance intermediaries who, upon information and belief, were directed or
21   encouraged by Hartford to preemptively advise policyholders that the Spectrum
22   Policies do not afford coverage for the losses alleged herein.
23              14.      Under the Spectrum Policy, Hartford promised to cover these losses, and
24   is obligated to pay for them. But in blatant breach of its contractual obligations,
25   Hartford has failed to pay for these losses.
26
27
28   1
         See attached Exhibit B, California Executive Order No. N-33-20 (March 19, 2020).


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 1         15.    Upon information and belief, Hartford has failed to pay for similar losses
 2   of other insureds holding policies that are, in all material respects, identical.
 3                                        THE PARTIES
 4         16.    On personal knowledge, Adelaide is a corporation organized under the
 5   laws of and existing in the State of California with a principal place of business located
 6   at 7766 Girard Avenue, La Jolla, California 92037.
 7         17.    Defendant The Hartford Financial Services Group, Inc. is a corporation
 8   organized under the laws of Connecticut, with its principal place of business located at
 9   One Hartford Plaza, Hartford, Connecticut 06155.
10         18.    Defendant Sentinel Insurance Company, Limited is a corporation
11   organized under the laws of Connecticut, with its principal place of business located at
12   One Hartford Plaza, Hartford, Connecticut 06155. Sentinel Insurance Company,
13   Limited is a wholly owned subsidiary of The Hartford Financial Services Group, Inc.
14         19.    At all material times hereto, Defendants conducted and transacted
15   business through the selling and issuing of insurance policies, including, but not limited
16   to, selling and issuing commercial property coverage to Plaintiffs and all other Class
17   Members as defined infra.
18         20.    At all times relevant, the Defendants were acting in the course and scope
19   of such agency, representation, joint venture, conspiracy, consultancy, predecessor
20   agreement, successor agreement, service and employment, with knowledge,
21   acquiescence, and ratification of each other and their principal The Hartford Financial
22   Group.
23                               JURISDICTION AND VENUE
24         21.    This Court has subject matter jurisdiction over the claims asserted in this
25   action under 28 U.S.C. § 1332 because there is complete diversity between Defendants
26   and at least one member of each class; there are more than one hundred members of
27   each class; and the amount in controversy exceeds $5,000,000 exclusive of interest and
28

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 1   costs. This Court also has subject matter jurisdiction under 28 U.S.C. §§ 2201 and 2202
 2   and is authorized to grant declaratory relief under these statutes.
 3          22.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)
 4   because a substantial part of the events or omissions giving rise to the claim occurred
 5   in this district and property that is the subject of the action is situated in this District.
 6          23.    This Court has personal jurisdiction over the Defendants because
 7   Plaintiff’s claims arise out of, among other things, Defendants conducting, engaging
 8   in, and/or carrying on business in California; Defendants breaching a contract in
 9   California by failing to perform acts required by contract to be performed in California;
10   and Defendants contracting to insure property in California, including, but not limited
11   to, premises insured under the Spectrum Policy. Defendants also purposefully availed
12   themselves of the opportunity of conducting activities in the State of California by
13   marketing their insurance policies and services within California, and intentionally
14   developing relationships with brokers, agents, and customers within California to
15   insure property within California, all of which resulted in the issuance of policies at
16   issue in this class action.
17                                 FACTUAL BACKGROUND
18
                                              The Policy
19
20          24.    On personal knowledge, in or about April 2019, Adelaide renewed its
21   Spectrum Policy. The Spectrum Policy has a policy period of April 1, 2019, to April 1,
22   2020. The insured premises under the Spectrum Policy are 7766 Girard Avenue, La
23   Jolla, California 92037 and 7385 Mission Gorge Road, Suite B, San Diego California
24   92120.
25          25.    The Spectrum Policy is the same or substantially similar to all other
26   Spectrum Policies issued by Hartford to Class members.
27
28

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 1         26.      The Spectrum Policy provides coverage on an “all risk” rather than
 2   specified peril basis. In an all-risk insurance policy, all risks of loss are covered unless
 3   they are specifically excluded.
 4         27.      The Spectrum Policy, in the Special Property Coverage Form, state:
 5                  A.   Coverage
 6
                    We will pay for direct physical loss of or damage to Covered
 7                  Property at the premises described in the Declarations (also
                    called “scheduled premises” in this policy) caused by or
 8
                    resulting from a Covered Cause of Loss.
 9
10         28.      The Spectrum Policy contains both a “Specified Cause of Loss” category
11   and “Covered Cause of Loss” category, the latter of which is an all-risk coverage form
12   meaning that all risks are covered unless specifically excluded or limited by the Policy.
13   All risks coverage is defined by limitations and exclusions in the policies.
14         29.      Under paragraph “A. Coverage” subparagraph 3 “Covered Causes of
15   Loss” of the Special Property Coverage Form, the Spectrum Policy provides coverage
16   for all “RISKS OF DIRECT PHYSICAL LOSS unless the loss is: a. Excluded in
17   Section B., EXCLUSIONS, or             b. Limited in Paragraph A.4. Limitations ....”
18   (emphasis in original).
19         30.      Under paragraph “A. COVERAGE” subparagraph 5. “Additional
20   Coverages” of the Special Property Coverage Form, the Spectrum Policy provides
21   coverage for, among other things: “o. Business Income”; “p. Extra Expense”; “q. Civil
22   Authority”; “r. Extended Business Income” and “s. Business Income from Dependent
23   Properties.”
24         31.      So long as the Plaintiff sustained a physical loss of their insured property,
25   the Defendants promised:
26
27
28

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 1                 o.    Business Income
 2
                   We will pay for the actual loss of Business Income you sustain
 3                 due to the necessary “suspension” of your “operations” during
                   the “period of restoration”. The “suspension” must be caused
 4
                   by direct physical loss of or damage to property at the
 5                 “scheduled premises”, including personal property in the open
                   (or in a vehicle) within 1,000 feet of the
 6
                   “scheduled premises”, caused by or resulting from a Covered
 7                 Cause of
 8                 Loss….

 9                 p.    Extra Expense
10
                   We will pay reasonable and necessary Extra Expense you incur
11                 during the “period of restoration” that you would not have
12                 incurred if there had been no direct physical loss or physical
                   damage to property at the “scheduled premises”, including
13                 personal property in the open (or in a vehicle) within 1,000 feet,
14                 caused by or resulting from a Covered Cause of Loss.

15
           32.     Neither “damage” nor the phrases “direct physical loss” and “damage to
16
     property” are defined by the Spectrum Policy. However, “suspension” is defined as “a.
17
     The partial shutdown or complete cessation of your business activities; or 2. That a part
18
     or all of the ‘scheduled premises’ is rendered untenantable as a result of a Covered
19
     Cause of Loss if coverage for Business Income applies to the policy.”
20
           33.     The Spectrum Policy also provides Extended Business Income coverage,
21
     as follows:
22                 r.    Extended Business Income
23                 If the necessary “suspension” of your “operations”
24                 produces a Business Income loss payable under this
25                 policy, we will pay for the actual loss of Business Income
                   you incur during the period that:
26
27
28

                                                7
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 1                       (a)   Begins on the date property is actually
 2                             repaired, rebuilt or replaced and
                               “operations” are resumed; and
 3
 4                       (b)   Ends on the earlier of:

 5                             i.       The date you could restore your
                                        “operations”, with reasonable speed,
 6
                                        to the condition that would have
 7                                      existed if no direct physical loss or
 8                                      damage occurred; or
 9
                               ii.      30 consecutive days after the date determined in
10
                               (1)(4) above.
11
                   Loss of Business Income must be caused by direct physical loss or
12
                   physical damage at the “scheduled premises” caused by or resulting
13
                   from a Covered Cause of Loss.
14
           34.     In addition to promising to pay for loss of Business Income, under the
15
     Spectrum Policy, Defendants also promised to pay for certain necessary “Extra
16
     Expense.” Extra Expense is defined as expenses that the policyholder incurs to
17
     “minimize the suspension of business if you cannot continue “operations”“.
18
           35.     The Spectrum Policy also provides additional “Civil Authority” coverage
19
     as follows:
20
                   q. Civil Authority
21
                   (1) This insurance is extended to apply to the actual loss of Business
22
                      Income you sustain when access to your “scheduled premises” is
23
                      specifically prohibited by order of a civil authority as the direct
24
                      result of a Covered Cause of Loss to property in the immediate
25
                      area of your “scheduled premises”..
26
27         36.     The Business Income and Extra Expense, as well as the Extended
28   Business Income, coverages are separate, independent and not mutually exclusive of

                                                 8
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 1   the coverage for Civil Authority; thus, the Plaintiff theoretically could recover under
 2   any one of these coverages or all of these coverages at the same time.
 3
 4                                    History of COVID-19
 5
           37.    On December 31, 2019, the World Health Organization reported people
 6
     in China were becoming sick due to a mysterious form of pneumonia.
 7
           38.    On January 11, 2020, China reported its first death from the mysterious
 8
     form of pneumonia.
 9
           39.    On January 21, 2020, the first confirmed case of the mysterious form of
10
     pneumonia was reported in the United States.
11
           40.    On January 30, 2020, for only the sixth time in its history, the World
12
     Health Organization, declared the outbreak of the mysterious form of pneumonia a
13
     Public Health Emergency of International Concern.
14
           41.    On February 29, 2020, the first death caused by COVID-19 was reported
15
     in the United States.
16
           42.    On March 13, 2020, President Trump declares the outbreak of COVID-
17
     19 to be a national emergency.
18
           43.    As of March 17, 2020, COVID-19 was reported to be present in every
19
     state in the United States.
20
           44.    As of March 26, 2020, the United States had more confirmed cases of
21
     COVID-19 than any other country in the world.
22
           45.    Per the Centers for Disease Control and Prevention (“CDC”), there is no
23
     vaccine to protect against COVID-19 and no medications approved to treat it.
24
           46.    It may take up to 14 days for an infected person to have symptoms.
25
           47.    A large percentage of persons who tested positive for COVID-19 showed
26
     no symptoms prior to testing. In fact, the director of the CDC, Dr. Robert Redfield,
27
     stated that “we have pretty much confirmed that a significant number of individuals
28

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 1   that are infected actually remain asymptomatic. That may be as many as 25%. That's
 2   important, because now you have individuals that may not have any symptoms that can
 3   contribute to transmission, and we have learned that in fact they do contribute to
 4   transmission”.
 5           48.   The WHO states that COVID-19 can spread directly from person to
 6   person through small droplets from the nose or mouth and also indirectly when a person
 7   with COVID-19 contaminates objects and surfaces, and other people touch these
 8   objects or surfaces and then touch their eyes, nose or mouth.
 9
                          Actions of Civil Authority by the State of California
10
             49.   On March 4, 2020, California Governor Gavin Newsom issued an
11
     executive order declaring a state of emergency in California as a result of the threat of
12
     COVID-19.
13
             50.   On March 19, 2020, Governor Newsom issued Executive Order N33-20,
14
     finding that “in a short period of time, COVID-19 has rapidly spread throughout
15
     California” and directed all Californians to “heed the current State public health
16
     directives...” including the Order of the State Public Health Officer dated March 19,
17
     2020.
18
             51.   The March 19, 2020 Order of the State Public Health Officer ordered “all
19
     individuals living in the State of California to stay at home or at their place of residence
20
     except as needed to maintain continuity of operations of the federal critical
21
     infrastructure sections...”
22
             52.   The State Public Health Officer has designated the following 13 sectors
23
     as Essential Critical Infrastructure and the employees in those sectors that are permitted
24
     to continue working in California:
25
                   a. Healthcare;
26
27                 b. Emergency Services;
28

                                                 10
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 1                c. Food & Agriculture;
 2
                  d. Energy;
 3
                  e. Water;
 4
 5                f. Transportation;
 6
                  g. Communications;
 7
 8                h. Community-Based Government Operations;

 9                i. Critical Manufacturing;
10
                  j. Hazardous Materials;
11
12                k. Financial Service;

13                l. Chemical; and
14
                  m. Defense and Industrial Base.
15
16         53.    The actions of the State of California directly forced Adelaide to cease,
17   suspend and/or severely limit its physical use of the insured premises and
18   corresponding business operations.
19                                   Plaintiff’s Covered Loss
20         54.    The presence of COVID-19 caused civil authorities throughout California
21   to issue orders requiring the suspension of business and/or use of commercial property,
22   including the property of Plaintiffs and other class members, as well as property in the
23   immediate area of such covered property.
24         55.    The Civil Authority Orders include, but are not limited to, the following
25   Executive Order:
26         March 19, 2020, Executive Order by Governor Gavin Newsom stating:
27         “All residents are to heed any orders and guidance of state and local
28

                                                11
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 1          public health officials, including but not limited to the imposition of
 2          social distancing measures, to control the spread of COVID-19.”
 3          56.     Plaintiff has suffered a suspension of normal business operations and a
 4   cessation of all operations on the premises, sustained losses of business income, and
 5   incurred extra expenses.
 6          57.     These losses and expenses have continued through the date of filing of
 7   this action.
 8          58.     These losses and expenses are not excluded from coverage under the
 9   Spectrum Policy, and because the Spectrum Policy is an all-risk policy, and Plaintiff
10   has complied with their contractual obligations, Plaintiff is entitled to payment for
11   these losses and expenses.
12          59.     Plaintiff has suffered a suspension and/or cessation of all normal business
13   operations given the response to the global pandemic associated with the spread of
14   COVID-19, including the actions of civil authority described herein.
15          60.     These losses and expenses have continued through the date of filing of
16   this action, and will continue unabated unless and until Hartford fulfills its contractual
17   obligations under the Spectrum Policy.
18
     Hartford’s Uniform Practice to Deny Coverage for COVID-19 Business Interruption
19                                        Losses
20
            61.     Hartford arbitrarily and wrongfully disclaimed coverage for Plaintiff’s
21
     losses.
22
            62.     Defendants’ denial of coverage was pre-determined and without regard to
23
     the individual circumstances of Plaintiff or other insureds.
24
            63.     Before Plaintiff and other members of the proposed class of policy holders
25
     submitted notice of and information about their claims, Defendants had determined not
26
     to afford coverage for any such claims.
27
28

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 1         64.     Defendants have refused to make payment to Plaintiff for damages
 2   resulting from the covered losses described supra, which constitutes a breach of the
 3   Spectrum Policy.
 4         65.     Defendants’ refusal to cover the covered losses is erroneous and
 5   unsupported by the plain language of the Spectrum Policy.
 6         66.     As such, Defendants owe Plaintiff’s insurance coverage and benefits
 7   under the Spectrum Policy for the losses, and there is no valid basis for its refusal to
 8   issue the same.
 9         67.     Plaintiff continues to be damaged by Defendants’ refusal to issue the full
10   amounts due and owing under the Spectrum Policy.
11                            CLASS ACTION ALLEGATIONS
12         68.     The class claims all derive directly from a single course of conduct by
13   Defendants: their systematic, uniform, capricious and arbitrary refusal to pay insureds
14   for covered losses and the actions taken by civil authorities to suspend business
15   operations.
16         69.     Plaintiff brings this action pursuant to Rules 23(a), 23(b)(1), 23(b)(2),
17   and/or 23(b)(3), as well as 23(c)(4), of the Federal Rules of Civil Procedure,
18   individually and on behalf of all others similarly situated. This action satisfies the
19   numerosity, commonality, typicality, adequacy, predominance, and superiority
20   requirements of those provisions.
21         70.     Plaintiff seeks to represent a California state-wide class as the Court may
22   deem appropriate defined as:
23                     a. All California businesses that purchased Business Income and
24                       Extra Expense coverage under a policy of insurance issued by
25                       Defendants covering the period of March 2020 through the present
26                       that suffered a suspension of business operations due to government
27                       prohibitions on the use of their insured premises, and for which
28

                                                13
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 1                      Defendants have either actually denied or stated they will deny a
 2                      claim for the losses or have otherwise failed to acknowledge, accept
 3                      as a covered cause of loss, or pay for the covered losses (“the
 4                      Business Income Coverage Class”).
 5                  b. All California businesses that purchased Extended Business
 6                      Income coverage under a policy of insurance issued by Defendants
 7                      covering the period of March 2020 through the present that incurred
 8                      extra expenses to avoid or minimize the suspension of business
 9                      operations due to government prohibitions on the use of their
10                      insured premises, and for which Defendants have either actually
11                      denied or stated they will deny a claim for the extended business
12                      income or have otherwise failed to acknowledge, accept as a
13                      covered expense, or pay for the covered expenses (“the Extended
14                      Business Income Coverage Class”).
15                  c. All California businesses that purchased Civil Authority coverage
16                      under a policy of insurance issued by Defendants, covering the
17                      period of March 2020 through the present that suffered an actual
18                      loss of Business Income and/or Extra Expense due to government
19                      prohibitions on the use of their insured premises, and for which
20                      Defendants have either actually denied or stated they will deny a
21                      claim for the losses or have otherwise failed to acknowledge, accept
22                      as a covered cause of loss, or pay for the covered losses (“the Civil
23                      Authority Coverage Class”).
24         71.   Excluded from each defined proposed Classes are Defendants and any of
25   their members, affiliates, parents, subsidiaries, officers, directors, employees,
26   successors, or assigns; governmental entities; Class Counsel and their employees; and
27
28

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 1   the judicial officers and Court staff assigned to this case and their immediate family
 2   members.
 3         72.    Plaintiff reserves the right to modify, expand, or amend the definitions of
 4   the proposed Classes, as appropriate, during the course of this litigation.
 5         73.    This action has been brought and may properly be maintained on behalf
 6   of each Class proposed herein under the criteria of Rule 23 of the Federal Rules of
 7   Civil Procedure.
 8                                          Numerosity
 9
           74.    This action satisfies the requirements of Fed. R. Civ. P. 23(a)(1). The
10
     members of each proposed Class are so numerous that individual joinder of all Class
11
     members is impracticable. There are, at a minimum, thousands of members of each
12
     proposed Class, and these individuals and entities are spread out across the State and
13
     the United States.
14
           75.    The identity of Class members is ascertainable, as the names and
15
     addresses of all Class members can be identified in Defendants’ or its agents’ books
16
     and records. Class members may be notified of the pendency of this action by
17
     recognized, Court-approved notice dissemination methods, which may include U.S.
18
     mail, electronic mail, internet postings, and/or published notice.
19
20                               Commonality and Predominance
21         76.    This action satisfies the requirements of Fed. R. Civ. P. 23(a)(2) and

22   23(b)(3) because this action involves common questions of law and fact that

23   predominate over any questions affecting only individual Class members. Defendants

24   issued all-risk policies to all the members of each proposed Class in exchange for

25   payment of premiums by the Class members. The questions of law and fact affecting

26   all Class members include, without limitation, the following:

27                   a. Whether Plaintiff and the Class members suffered a covered cause

28                        of loss under the policies issued to members of the Class;

                                                15
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 1                   b. Whether Defendants wrongfully, capriciously and arbitrarily
 2                      denied all claims based on the facts set forth herein;
 3                   c. Whether Defendants’ Business Income coverage applies based on
 4                      the facts set forth herein;
 5                   d. Whether Defendants’ Civil Authority coverage applies to a loss of
 6                      Business Income based on the facts set forth herein;
 7                   e. Whether Defendants’ Extra Expense coverage applies to efforts to
 8                      avoid or minimize a loss caused by the suspension of business
 9                      based on the facts set forth herein;
10                   f. Whether Defendants have breached their contracts of insurance
11                      through a uniform and blanket denial of all claims for business
12                      losses based on the facts set forth herein;
13                   g. Whether the Defendants act in bad faith breach of contract and the
14                      duty of good faith and fair dealing through a uniform and blanket
15                      denial of all claims for business losses based on the facts set forth
16                      herein; and
17                   h. Whether Plaintiff and the Class members suffered damages as a
18                      result of Defendants’ actions; and
19                   i. Whether Plaintiff and the Class members are entitled to an award
20                      of reasonable attorneys’ fees, interest, and costs.
21
                                            Typicality
22
23         77.    This action satisfies the requirements of Fed. R. Civ. P. 23(a)(3) because
24   Plaintiff’s claims are typical of the claims of the Class members and arise from the
25   same course of conduct by Defendants. Plaintiff and the other Class members are all
26   similarly affected by Defendants’ refusal to pay under their property insurance policies.
27   Plaintiff’s claims are based upon the same legal theories as those of the other Class
28   members. Plaintiff and the other Class members sustained damages as a direct and

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 1   proximate result of the same wrongful practices in which Defendants engaged. The
 2   relief Plaintiff seek is typical of the relief sought for the absent Class members.
 3
                                   Adequacy of Representation
 4
 5          78.    This action satisfies the requirements of Fed. R. Civ. P. 23(a)(4) because
 6   Plaintiff will fairly and adequately represent and protect the interests of Class members.
 7   Plaintiff has retained counsel with substantial experience in prosecuting complex class
 8   action litigation.
 9          79.    Plaintiff and their counsel are committed to vigorously prosecuting this
10   action on behalf of the Class members and have the financial resources to do so. Neither
11   Plaintiff nor their counsel has interests adverse to those of the Class members.
12
             Inconsistent or Varying Adjudications and the Risk of Impediments to
13                             Other Class Members’ Interests
14
            80.    This action satisfies the requirements of Fed. R. Civ. P. 23(b)(1). Plaintiff
15
     seeks class-wide adjudication as to the interpretation and scope of Defendants’
16
     Commercial Business Owner insurance policies that use the same language and terms
17
     as the Spectrum Policy. The prosecution of separate actions by individual members of
18
     the proposed Classes would create an imminent risk of inconsistent or varying
19
     adjudications that would establish incompatible standards of conduct for Defendants.
20
21         Final Injunctive and/or Corresponding Declaratory Relief with Respect to
                                    the Class is Appropriate
22
23          81.    This action satisfies the requirements of Fed. R. Civ. P. 23(b)(2) because
24   Defendants acted or refused to act on grounds generally applicable to Plaintiff and the
25   members of the Classes, thereby making appropriate final injunctive and/or
26   corresponding declaratory relief with respect to the Class members. The class claims
27   all derive directly from Defendants’ systematic, uniform, capricious and arbitrary
28   refusal to pay insureds for losses suffered due to actions taken by civil authorities to

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 1   suspend or interrupt business operations in response to the pandemic associated with
 2   the spread of COVID-19. Defendants’ actions or refusal to act are grounded upon the
 3   same generally applicable legal theories.
 4
                                            Superiority
 5
 6         82.    This action satisfies the requirements of Fed. R. Civ. P. 23(b)(3) because
 7   a class action is superior to other available methods for the fair and efficient group-
 8   wide adjudication of this controversy. The common questions of law and of fact
 9   regarding Defendants’ conduct and the interpretation of the common language in their
10   health club insurance policies predominate over any questions affecting only individual
11   Class members.
12         83.    Because the damages suffered by certain individual Class members may
13   be relatively small, the expense and burden of individual litigation would make it very
14   difficult for all individual Class members to redress the wrongs done to each of them
15   individually, such that many Class members would have no rational economic interest
16   in individually controlling the prosecution of specific actions, and the burden imposed
17   on the judicial system by individual litigation by even a small fraction of the Class
18   would be enormous, making class adjudication the superior alternative under Fed. R.
19   Civ. P. 23(b)(3)(A).
20         84.    The conduct of this action as a class action presents far fewer management
21   difficulties, far better conserves judicial resources and the parties’ resources, and far
22   more effectively protects the rights of each Class member than would piecemeal
23   litigation. Compared to the expense, burdens, inconsistencies, economic infeasibility,
24   and inefficiencies of individualized litigation, the challenges of managing this action
25   as a class action are substantially outweighed by the benefits to the legitimate interests
26   of the parties, the Court, and the public of class treatment in this Court, making class
27   adjudication superior to other alternatives, under Fed. R. Civ. P. 23(b)(3)(D).
28

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 1         85.    Plaintiff is not aware of any obstacles likely to be encountered in the
 2   management of this action that would preclude its maintenance as a class action. Rule
 3   23 provides the Court with authority and flexibility to maximize the efficiencies and
 4   benefits of the class mechanism and reduce management challenges. The Court may,
 5   on motion of Plaintiff or on its own determination, certify nationwide, statewide and/or
 6   multistate classes for claims sharing common legal questions; utilize the provisions of
 7   Rule 23(c)(4) to certify any particular claims, issues, or common questions of fact or
 8   law for class-wide adjudication; certify and adjudicate bellwether class claims; and
 9   utilize Rule 23(c)(5) to divide any Class into subclasses.
10
                                   CAUSES OF ACTION
11                      COUNT I: DECLARATORY JUDGMENT
12                   (On behalf of the Business Income Coverage Class)
13
           86.    Plaintiff incorporates by reference and re-allege paragraphs 1 through 85
14
     as though fully set forth herein.
15
           87.    Plaintiff brings this Count both individually and on behalf of the other
16
     members of the Business Income Coverage Class.
17
           88.    Under 28 U.S.C. §§ 2201 and 2202, this Court has jurisdiction to declare
18
     the rights and other legal relations of the parties in dispute.
19
           89.    The Spectrum Policy, as well as the policies of other Business Income
20
     Coverage Class members, are insurance contracts under which Defendants were paid
21
     premiums in exchange for promises to pay Class members’ losses for claims covered
22
     by the Spectrum Policies.
23
           90.    In the Spectrum Policy, Defendants promised to pay for losses of business
24
     income and extra expense sustained as a result of perils not excluded under the
25
     Spectrum Policy. Specifically, Defendants promised to pay for losses of business
26
     income and extra expense sustained as a result of a suspension of business operations
27
     during the period of restoration.
28

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 1         91.    Plaintiff and Class members suffered direct physical loss of or damage to
 2   Plaintiff’s insured locations and other Class members’ insured premises, resulting in
 3   interruptions or suspensions of business operations at the locations. These suspensions
 4   and interruptions have caused Plaintiff and Class members to suffer losses of business
 5   income and extra expense.
 6         92.    These suspensions and interruptions, and the resulting losses, triggered
 7   business income and extra expense coverage under the Spectrum Policy and other Class
 8   members’ policies.
 9         93.    Plaintiff and the other Class members have complied with all applicable
10   provisions of their respective policies, including payment of premiums.
11         94.    Defendants, without justification, deny that the Plaintiff’s Spectrum
12   Policy and other Class members’ policies provide coverage for these losses.
13         95.    Plaintiff seeks a Declaratory Judgment that its Spectrum Policy and other
14   Class members’ policies provide coverage for the losses of business income and extra
15   expense attributable to the facts set forth above.
16         96.    An actual case or controversy exists regarding Plaintiff’s and other Class
17   members’ rights and Defendants’ obligations to reimburse Plaintiff and other Class
18   members for the full amount of these losses. Accordingly, the Declaratory Judgment
19   sought is justiciable.
20         WHEREFORE, Plaintiff requests that this Court enter a Declaratory Judgment
21   declaring that the Spectrum Policy and other Class members’ policies provide coverage
22   for Class members’ losses of business income.
23
                          COUNT II: BREACH OF CONTRACT
24                   (On behalf of the Business Income Coverage Class)
25
26         97.    Plaintiff incorporates by reference and re-allege paragraphs 1 through 85

27   as though fully set forth herein.

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 1         98.    Plaintiff brings this Count both individually and on behalf of the other
 2   members of the Business Income Coverage Class.
 3         99.    The Spectrum Policy, as well as the policies of other Business Income
 4   Coverage Class members, are insurance contracts under which Defendants were paid
 5   premiums in exchange for promises to pay Class members’ losses for claims covered
 6   by the policies.
 7         100. In the Spectrum Policy, Defendants promised to pay for losses of business
 8   income and extra expense incurred as a result of perils not excluded under the Spectrum
 9   Policy. Specifically, Defendants promised to pay for losses of business income and
10   extra expense sustained as a result of a suspension of business operations during the
11   period of restoration.
12         101. Plaintiff and Class members have suffered a direct physical loss of or
13   damage to Plaintiff’s insured locations and other Class members’ insured premises as
14   a result of interruptions or suspensions of business operations at these premises. These
15   interruptions and suspensions have caused Class members to suffer losses of business
16   income and extra expense.
17         102. These losses triggered business income and extra expense coverage under
18   both the Spectrum Policies and other Class members’ policies.
19         103. Plaintiff and the other Class members have complied with all applicable
20   provisions of their respective policies, including payment of premiums.
21         104. Defendants, without justification and in bad faith, have denied coverage
22   and refused performance under the Spectrum Policy and other Class members’ policies
23   by denying coverage for these losses and expenses. Accordingly, Defendants are in
24   breach of the Spectrum Policy and other Class members’ policies.
25         105. As a result of Defendants’ breaches of the Spectrum Policy and other
26   Class members’ policies, Plaintiffs and other Class members have suffered actual and
27   substantial damages for which Defendants are liable.
28

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 1         WHEREFORE, Plaintiff, both individually and on behalf of other Class
 2   members, seeks compensatory damages resulting from Defendants’ breaches of the
 3   Spectrum Policy and other Class Members’ policies and seek all other relief deemed
 4   appropriate by this Court.
 5
                COUNT III: BAD FAITH BREACH OF CONTRACT AND
 6               THE DUTY OF GOOD FAITH AND FAIR DEALING
 7                 (On behalf of the Business Income Coverage Class)
 8         106. Plaintiff incorporates by reference and re-allege paragraphs 1 through 85
 9   as though fully set forth herein.
10         107. Plaintiff brings this Count both individually and on behalf of the other
11   members of the Business Income Coverage Class.
12         108. The Spectrum Policy, as well as the policies of other Business Income
13   Coverage Class members, are insurance contracts under which Defendants were paid
14   premiums in exchange for promises to pay Class members’ losses for claims covered
15   by the Spectrum Policy.
16         109. In the Spectrum Policy, Defendants promised to pay for losses of business
17   income and extra expense incurred as a result of perils not excluded under the Spectrum
18   Policy. Specifically, Defendants promised to pay for losses of business income and
19   extra expense sustained as a result of a suspension of business operations during the
20   period of restoration.
21         110. Plaintiff and Class members suffered an actual loss of business income
22   and extra expense to the necessary suspension of Plaintiff’s and other Class members’
23   business operations at insured premises and said suspension(s) were caused by direct
24   physical loss of and damage to Plaintiff’s and other Class members’ insured premises
25   caused by or resulting from COVID-19 disease and/or pandemic, both of which are
26   Covered Causes of Loss under the Spectrum Policy and other Class members’ policies.
27
28

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 1   These actual losses, therefore, triggered Business Income and Extra Expense coverage
 2   under both the Spectrum Policy and other Class members’ policies.
 3         111. COVID-19 disease and COVID-19 pandemic were direct, physical and
 4   foreseeable causes of loss under the Spectrum Policy and other Class members’
 5   policies and they each caused, and/or resulted in, dangerous physical conditions at, and
 6   physical injuries to, the Plaintiff’s and other Class members’ insured premises and
 7   property immediately adjacent to each. COVID-19 disease and COVID-19 pandemic
 8   pose a serious risk to and endanger(ed) the public's health, safety and property and
 9   rendered the Plaintiff’s and other Class members’ insured premises unusable and/or
10   uninhabitable; thus, mandating a suspension of business operations.
11         112. These losses and expenses are not excluded from coverage under the
12   Spectrum Policy. Because the Spectrum Policy is an all-risk policy, and Covered
13   Causes of Loss are determined by exclusions, COVID-19 disease and COVID-19
14   pandemic are Covered Causes of Loss since neither disease nor pandemic are excluded
15   Business Income and Extra Expense coverage.
16         113. Furthermore, COVID-19 disease and COVID-19 pandemic caused direct
17   physical loss and damage to the Plaintiff’s various business premises and the other
18   Class Members' insured premises resulting in dangerous physical conditions, the nature
19   of such loss and damage to property having been recognized by civil authorities in
20   Orders addressing COVID-19.
21         114. Plaintiff and the other Class members have complied with all applicable
22   provisions of their respective policies, including payment of premiums.
23         115. The actions of the Defendants give rise to a cause of action for bad faith
24   breach of contract and the duty of good faith and fair dealing as Plaintiff and other
25   Class members were covered under Plaintiff’s Spectrum Policy, as well as the policies
26   of other Business Income Coverage Class members, and the Defendants have breached
27   the terms of said policies by denying business income and extra expense coverage to
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 1   the Plaintiffs and other Class members. Defendants’ actions in breaching the terms of
 2   the Spectrum Policy and the other Class Members' policies, in bad faith, have
 3   proximately caused damages to Plaintiff and other Class members, and the damages
 4   were reasonably foreseeable to the Defendants.
 5          116. It appears that the Defendants’ conduct was performed because they
 6   placed their own financial interests before the Plaintiff’s and other Class Members’
 7   financial interests.
 8          117. Further, the actions of the Defendants in denying business income and
 9   extra expense coverage to the Plaintiff and other Class Members were done so without
10   any legitimate basis or arguable reason and constitute intentional and/or malicious
11   conduct or gross negligence and reckless disregard.
12          118. Implied in the Spectrum Policy and the other Class Members’ policies is
13   a duty of good faith and fair dealing with respect to conduct encompassed by
14   contractual relations. Defendants’ conduct as aforesaid breached the duty of good faith
15   and fair dealing which further gives rise to the tort of bad faith for the breach of
16   contract.
17          119. Defendants, at all times relevant hereto, owed Plaintiff and other Class
18   Members a duty to exercise good faith and an obligation to deal fairly with them;
19   however, the denial of business income and extra expense coverage by Defendants
20   constituted a bad faith breach of contract and was totally made with only the
21   Defendants’ best interests in mind and in total disregard of the contractual rights of
22   Plaintiff and other Class Members.
23          120. Defendants’ bad faith material breach(es) of the Spectrum Policy, as well
24   as other Class members’ policies, have resulted in actual and substantial damages to
25   the Plaintiff and Business Income Coverage Class members, depriving all of the benefit
26   of their bargain, and represents, in addition to warranting contractual damages,
27   incidental damages and consequential damages, an independent tort entitling Plaintiff
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 1   and other Class Members to punitive damages in an amount which will punish the
 2   Defendants for their intentional, grossly negligent, and/or reckless conduct as well as
 3   to deter Defendants and others from similar misconduct in the future.
 4         WHEREFORE, Plaintiff, both individually and on behalf of other Class
 5   members, seeks compensatory damages, contractual damages, incidental damages,
 6   consequential damages, and punitive damages, resulting from Defendants’ bad faith
 7   breach(es) of the Spectrum Policy and other Class Members’ policies and seek all other
 8   relief deemed appropriate by this Court.
 9
                                         COUNT IV:
10                              DECLARATORY JUDGMENT
11               (On behalf of the Extended Business Income Coverage Class)
12         121. Plaintiff incorporates by reference and re-allege paragraphs 1 through 85
13   as though fully set forth herein.
14         122. Plaintiff brings this Count both individually and on behalf of the other
15   members of the Extra Expense Coverage Class.
16         123. Under 28 U.S.C. §§ 2201 and 2202, this Court has jurisdiction to declare
17   the rights and other legal relations of the parties in dispute.
18         124. The Spectrum Policy, as well as the policies of other Extended Business
19   Income Coverage Class members, are insurance contracts under which Defendants
20   were paid premiums in exchange for promises to pay Class members’ losses for claims
21   covered by the respective policies.
22         125. Specifically, Defendants promised to pay for extended business income
23   for losses incurred by Plaintiff and other Class members during the period of
24   restoration that the insureds would not have incurred if there had been no loss or
25   damage to the insured premises. Extended business income included income to avoid
26   or minimize the suspension of business, continue operations, and to repair or replace
27   property.
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 1          126. Plaintiff and Class members suffered direct physical loss of or damage to
 2   Plaintiff’s locations and other Class members’ insured premises, resulting in
 3   suspensions or interruptions of business operations at these premises. As a result,
 4   Plaintiff and other Class members have incurred losses, as defined in the Spectrum
 5   Policy and other Class members’ policies.
 6          127. These losses triggered Extended Business Income coverage under the
 7   Spectrum Policy and other Class members’ policies.
 8          128. Plaintiff and the other Class members have complied with all applicable
 9   provisions of their respective policies, including payment of premiums.
10          129. Defendants, without justification, deny that the Spectrum Policy and other
11   Class members’ policies provide coverage for Extended Business Income.
12          130. Plaintiff, both individually and on behalf of the other members of the
13   Extended Business Income Coverage Class, seeks a Declaratory Judgment that the
14   Spectrum Policy, and those of other members of the Extended Business Income
15   Coverage Class, provides coverage for these extended business income.
16          131. An actual case or controversy exists regarding Class members’ rights and
17   Defendants’ obligations under Class members’ policies to reimburse Class members
18   for extended business income. Accordingly, the Declaratory Judgment sought is
19   justiciable.
20          WHEREFORE, Plaintiff requests that this Court enter a Declaratory Judgment
21   declaring that the Spectrum Policy and other Class members’ policies provide coverage
22   for Class members’ extended business income
23
                          COUNT V: BREACH OF CONTRACT
24              (On behalf of the Extended Business Income Coverage Class)
25          132. Plaintiffs incorporate by reference and re-allege paragraphs 1 through 85
26   as though fully set forth herein.
27
28

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 1         133. Plaintiff brings this Count individually and on behalf of the other
 2   members of the Extended Business Income Coverage Class.
 3         134. The Spectrum Policy, as well as the policies of other Extended Business
 4   Income Coverage Class members, are insurance contracts under which Defendants
 5   were paid premiums in exchange for promises to pay Class members’ losses for claims
 6   covered by the policies.
 7         135. Specifically, Defendants promised to pay for extended business income
 8   for losses incurred by Plaintiff and other Class members during the period of
 9   restoration that the insureds would not have incurred if there had been no loss or
10   damage to the insured premises. Extended business income losses included income to
11   avoid or minimize the suspension of business, continue operations, and to repair or
12   replace property.
13         136. Plaintiff and Class members suffered direct physical loss of or damage to
14   the Plaintiff’s insured locations and other Class members’ insured premises, resulting
15   in suspensions and interruptions of business operations at these premises. These
16   suspensions and interruptions have caused Class members to incur Extra Expenses.
17         137. These expenses triggered extended business income coverage under the
18   Spectrum Policy and other Class members’ policies.
19         138. Plaintiff and the other Class members have complied with all applicable
20   provisions of the Spectrum Policy, including payment of premiums.
21         139. Defendants, without justification and in bad faith, have denied coverage
22   and refused performance extended business income. Accordingly, Defendants are in
23   breach of the Spectrum Policy and other Class members’ policies.
24         140. As a result of Defendants’ breaches of the Spectrum Policy and other
25   Class members’ policies, Plaintiff and other Class members have suffered actual and
26   substantial damages for which Defendants are liable.
27
28

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 1         WHEREFORE, Plaintiff, individually and on behalf of other Class members,
 2   seeks compensatory damages resulting from Defendants’ breaches of the Spectrum
 3   Policy and other Class Members’ policies and seek all other relief deemed appropriate
 4   by this Court.
 5
                COUNT VI: BAD FAITH BREACH OF CONTRACT AND
 6               THE DUTY OF GOOD FAITH AND FAIR DEALING
 7             (On behalf of the Extended Business Income Coverage Class)
 8         141. Plaintiff incorporates by reference and re-allege paragraphs 1 through 85
 9   as though fully set forth herein.
10         142. Plaintiff brings this Count both individually and on behalf of the other
11   members of the Extended Business Income Coverage Class.
12         143. The Spectrum Policy, as well as the policies of other Extended Business
13   Income Coverage Class members, are insurance contracts under which Defendants
14   were paid premiums in exchange for promises to pay Class members’ losses for claims
15   covered by the policies.
16         144. In the Spectrum Policy, Defendants promised to pay extended business
17   income for losses, pursuant to the Specialty Property Coverage Form’s Extended
18   Business Income provision contained the Spectrum Policy and other Class Members’
19   policies, incurred as a result of perils not excluded under the policies. Specifically,
20   Defendants promised to pay for losses of Extended Business Income sustained as a
21   result of a suspension of business operations during the period of restoration.
22         145. Plaintiff and Class members suffered an actual loss of business income
23   due to the necessary Suspension of Plaintiff’s and other Class members’ business
24   operations at insured premises and said suspension(s) were caused by direct physical
25   loss of and damage to Plaintiff’s and other Class members’ insured premises caused
26   by or resulting from COVID-19 disease and/or pandemic, both of which are Covered
27   Causes of Loss under the Spectrum Policy and other Class members’ policies. These
28

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 1   actual losses, therefore, triggered Specialty Property Coverage Form’s Extended
 2   Business Income coverage under both the Spectrum Policy and other Class members’
 3   policies.
 4         146. COVID-19 disease and COVID-19 pandemic were direct, physical and
 5   foreseeable causes of loss under the Spectrum Policy and other Class members’
 6   policies and they each caused, and/or resulted in, dangerous physical conditions at, and
 7   physical injuries to, the Plaintiff’s and other Class members’ insured premises and
 8   property immediately adjacent to each. COVID-19 disease and COVID-19 pandemic
 9   pose a serious risk to and endanger(ed) the public’s health, safety and property and
10   rendered the Plaintiff’s and other Class members’ insured premises unusable and/or
11   uninhabitable; thus, mandating a suspension of business operations.
12         147. These losses and expenses are not excluded from coverage under the
13   Spectrum Policy. Because the Spectrum Policy is an all-risk policy, and Covered
14   Causes of Loss are determined by exclusions, COVID-19 disease and COVID-19
15   pandemic are Covered Causes of Loss since neither disease nor pandemic are excluded
16   under Extended Business Income coverage.
17         148. Furthermore, COVID-19 disease and COVID-19 pandemic caused direct
18   physical loss and damage to the Plaintiff’s various business premises and the other
19   Class Members’ insured premises resulting in dangerous physical conditions, the
20   nature of such loss and damage to property having been recognized by civil authorities
21   in Orders addressing COVID-19.
22         149. Plaintiff and the other Class members have complied with all applicable
23   provisions of their respective policies, including payment of premiums.
24         150. The actions of the Defendants give rise to a cause of action for bad faith
25   breach of contract and the duty of good faith and fair dealing as Plaintiff and other
26   Class members were covered under the Spectrum Policy, as well as the policies of other
27   Extended Business Income Coverage Class members, and the Defendants have
28

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 1   breached the terms of said policies by denying extended business income coverage to
 2   the Plaintiff and other Class members. Defendants’ actions in breaching the terms of
 3   the Spectrum Policy and the other Class Members' policies, in bad faith, have
 4   proximately caused damages to Plaintiffs and other Class members and the damages
 5   were reasonably foreseeable to the Defendants.
 6          151. It appears that the Defendants’ conduct was performed because they
 7   placed their own financial interests before the Plaintiff’s and other Class Members’
 8   financial interests.
 9          152. Further, the actions of the Defendants in denying extended business
10   income coverage to the Plaintiff and other Class Members was done so without any
11   legitimate basis or arguable reason and constitute intentional and/or malicious conduct
12   or gross negligence and reckless disregard.
13          153. Implied in the Spectrum Policy and the other Class Members’ policies is
14   a duty of good faith and fair dealing with respect to conduct encompassed by
15   contractual relations. Defendants’ conduct as aforesaid breached the duty of good faith
16   and fair dealing which further gives rise to the tort of bad faith for the breach of
17   contract.
18          154. Defendants, at all times relevant hereto, owed Plaintiff and other Class
19   Members a duty to exercise good faith and an obligation to deal fairly with them;
20   however, the denial of extended business income coverage by Defendants constituted
21   a bad faith breach of contract and was totally made with only the Defendants’ best
22   interests in mind and in total disregard of the contractual rights of Plaintiffs and other
23   Class Members.
24          155. Defendants’ bad faith material breach(es) of the Spectrum Policy, as well
25   as other Class members’ policies, has resulted in actual and substantial damages to the
26   Plaintiff and Extended Business Income Coverage Class members, depriving all of the
27   benefit of their bargain, and represents, in addition to warranting contractual damages,
28

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 1   incidental damages, and consequential damages, an independent tort entitling Plaintiff
 2   and other Class Members to punitive damages in an amount which will punish the
 3   Defendants for their intentional, grossly negligent, and/or reckless conduct as well as
 4   to deter Defendants and others from similar misconduct in the future.
 5         WHEREFORE, Plaintiff, both individually and on behalf of other Class
 6   members, seek compensatory damages, contractual damages, incidental damages,
 7   consequential damages, and punitive damages, resulting from Defendants’ bad faith
 8   breach(es) of the Spectrum Policy and other Class Members’ policies and seek all other
 9   relief deemed appropriate by this Court.
10
                         COUNT VII: DECLARATORY JUDGMENT
11                      (On behalf of the Civil Authority Coverage Class)
12         156. Plaintiff incorporates by reference and re-allege paragraphs 1 through 85
13   as though fully set forth herein.
14         157. Plaintiff brings this Count both individually and on behalf of the other
15   members of the Civil Authority Coverage Class. 112. Under 28 U.S.C. §§ 2201 and
16   2202, this Court has jurisdiction to declare the rights and other legal relations of the
17   parties in dispute.
18         158. The Spectrum Policy, as well as the policies of other Civil Authority
19   Coverage Class members, are insurance contracts under which Defendants were paid
20   premiums in exchange for promises to pay Class members’ losses for claims covered
21   by the policies.
22         159. In the Spectrum Policy and other Class members’ policies, Defendants
23   promised to pay for losses of business income sustained and extra expenses incurred
24   when, among other things, a covered cause of loss causes damage to property near the
25   insured premises, the civil authority prohibits access to property near the insured
26   premises, and that access to the “scheduled premises” was prohibited by order of the
27
28

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 1   civil authority as a direct result of a Covered Cause of Loss to property in the immediate
 2   area.
 3           160. Plaintiff and other Class members have suffered losses and incurred
 4   expenses as a result of actions of civil authorities that prohibited access to insured
 5   premises under the Spectrum Policy and Class members’ policies.
 6           161. These losses satisfied all requirements to trigger Civil Authority coverage
 7   under the Spectrum Policy and other Class members’ policies.
 8           162. Plaintiff and the other Class members have complied with all applicable
 9   provisions of the Spectrum Policy, including payment of premiums.
10           163. Defendants, without justification, deny that the Spectrum Policy provides
11   coverage for these losses.
12           164. Plaintiff seeks a Declaratory Judgment that the Spectrum Policy and other
13   Class members’ policies provide coverage for the losses that Class members have
14   sustained and extra expenses they have incurred caused by actions of civil authorities.
15           165. An actual case or controversy exists regarding Class members’ rights and
16   Defendants’ obligations under Class members’ policies to reimburse Class members
17   for these losses and extra expenses. Accordingly, the Declaratory Judgment sought is
18   justiciable.
19           WHEREFORE, Plaintiff, both individually and on behalf of other Class
20   members, requests that this Court enter a Declaratory Judgment declaring that the
21   policies provide Civil Authority coverage for the losses and extra expenses incurred by
22   Plaintiffs and the other Class members.
23
                          COUNT VIII: BREACH OF CONTRACT
24                     (On behalf of the Civil Authority Coverage Class)
25
26           166. Plaintiff incorporates by reference and re-allege paragraphs 1 through 85

27   as though fully set forth herein.

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 1         167. Plaintiff brings this Count individually and on behalf of the other
 2   members of the Civil Authority Coverage Class.
 3         168. The Spectrum Policy, as well as the policies of other Civil Authority
 4   Coverage Class members, are insurance contracts under which Defendants were paid
 5   premiums in exchange for promises to pay Class members’ losses and expenses
 6   covered by the policies.
 7         169. In the Spectrum Policy and other Class members’ policies, Defendants
 8   promised to pay for losses of business income sustained and extra expenses incurred
 9   when a covered cause of loss causes damage to property near the insured premises, the
10   civil authority prohibits access to property near the insured premises, and that access
11   to the “scheduled premises” was prohibited by order of the civil authority as a direct
12   result of a Covered Cause of Loss to property in the immediate area.
13         170. Plaintiff and other Class members have suffered losses and incurred
14   expenses as a result of actions of civil authorities that prohibited access to insured
15   premises under the Spectrum Policy and Class members’ policies.
16         171. These losses satisfied all requirements to trigger Civil Authority coverage
17   under the Spectrum Policy and other Class members’ policies.
18         172. Plaintiff and the other Class members have complied with all applicable
19   provisions of their policies, including payment of premiums.
20         173. Defendants, without justification and in bad faith, have refused
21   performance under the Spectrum Policy and other Class members’ policies by denying
22   coverage for these losses and expenses. Accordingly, Defendants are in breach of the
23   Spectrum Policy and other Class members’ policies.
24         174. As a result of Defendants’ breaches of the Spectrum Policy and other
25   Class members’ policies, Plaintiffs and other Class members have suffered actual and
26   substantial damages for which Defendants are liable.
27
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 1         WHEREFORE, Plaintiff seeks compensatory damages resulting from
 2   Defendants’ breaches of the Spectrum Policy and other Class members’ policies, and
 3   seeks all other relief deemed appropriate by this Court.
 4
 5              COUNT IX: BAD FAITH BREACH OF CONTRACT AND
                 THE DUTY OF GOOD FAITH AND FAIR DEALING
 6
                   (On behalf of the Civil Authority Coverage Class)
 7
 8         175. Plaintiff incorporates by reference and re-allege paragraphs 1 through 85
 9   as though fully set forth herein.
10         176. Plaintiff brings this Count individually and on behalf of the other
11   members of the Civil Authority Coverage Class.
12         177. The Spectrum Policy, as well as the policies of other Civil Authority
13   Coverage Class members, are insurance contracts under which Defendants were paid
14   premiums in exchange for promises to pay Class members’ losses and expenses
15   covered by the policies.
16         178. In the Spectrum Policy and other Class members’ policies, Defendants
17   promised to pay for actual loss of business income sustained and necessary extra
18   expenses incurred when a Covered Cause of Loss caused damage to property other
19   than property at the Plaintiff’s respective insured premises or Class Members’ insured
20   premises and that the Plaintiff and other Class Members suffered actual loss due to
21   civil authorities prohibiting access to Plaintiff’s and Class Members’ premises and that
22   access to the “scheduled premises” was prohibited by order of the civil authority as a
23   direct result of a Covered Cause of Loss to property in the immediate area.
24         179. COVID-19 disease and COVID-19 pandemic were direct, physical and
25   foreseeable causes of loss under the Spectrum Policy and other Class members’
26   policies and they each caused, and/or resulted in, dangerous physical conditions at, and
27   physical injuries to, the Plaintiff’s and other Class members’ insured premises and
28   property immediately adjacent to each. COVID-19 disease and COVID-19 pandemic

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 1   pose a serious risk to and endanger(ed) the public's health, safety and property and
 2   rendered the Plaintiff’s and other Class members’ insured premises and areas within
 3   the immediate area of the Plaintiff’s business premises and other Class Members’
 4   insured premises, damaged, unusable and/or uninhabitable; thus, prompting the Orders
 5   of civil authorities prohibiting access to the same.
 6         180. These losses and expenses are not excluded from coverage under the
 7   Spectrum Policy. Because the Spectrum Policy are all-risk policies, and Covered
 8   Causes of Loss are determined by exclusions, COVID-19 disease and COVID-19
 9   pandemic are Covered Causes of Loss since neither disease nor pandemic are excluded
10   under Civil Authority coverage.
11         181. Furthermore, COVID-19 disease and COVID-19 pandemic caused
12   damage to property in the immediate area of Plaintiffs’ various insured business
13   premises, and the other Class Members’ insured premises, resulting in dangerous
14   physical conditions prompting civil authorities, such as, for example, the State of
15   California to issue Orders prohibiting the public’s access to the area immediately
16   surrounding the damaged property, including access to the Plaintiff’s business
17   premises and other Class Members’ insured premises.
18         182. Accordingly, these losses satisfied all requirements to trigger Civil
19   Authority coverage under the Spectrum Policy and other Class members’ policies.
20         183. Plaintiffs and the other Class members have complied with all applicable
21   provisions of the policies, including payment of premiums.
22         184. The actions of the Defendants give rise to a cause of action for bad faith
23   breach of contract and the duty of good faith and fair dealing as Plaintiff and other
24   Class members were covered under the Spectrum Policies, as well as the policies of
25   other Civil Authority Coverage Class members, and the Defendants have breached the
26   terms of said policies by denying Civil Authority coverage to the Plaintiff and other
27   Class members. Defendants’ actions in breaching the terms of the Spectrum Policy and
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 1   the other Class Members’ policies, in bad faith, have proximately caused damages to
 2   Plaintiffs and other Class members and the damages were reasonably foreseeable to
 3   the Defendants.
 4          185. It appears that the Defendants’ conduct was performed because they
 5   placed their own financial interests before the Plaintiff’s and other Class Members’
 6   financial interests.
 7          186. Further, the actions of the Defendants in denying Civil Authority coverage
 8   to the Plaintiff and other Class Members were done so without any legitimate basis or
 9   arguable reason and constitute intentional and/or malicious conduct or gross
10   negligence and reckless disregard.
11          187. Implied in the Spectrum Policy and the other Class Members’ policies is
12   a duty of good faith and fair dealing with respect to conduct encompassed by
13   contractual relations. Defendants’ conduct as aforesaid breached the duty of good faith
14   and fair dealing which further gives rise to the tort of bad faith for the breach of
15   contract.
16          188. Defendants, at all times relevant hereto, owed Plaintiff and other Class
17   Members a duty to exercise good faith and an obligation to deal fairly with them;
18   however, the denial of Civil Authority coverage by Defendants constituted a bad faith
19   breach of contract and was totally made with only the Defendants’ best interests in
20   mind and in total disregard of the contractual rights of Plaintiff and other Class
21   Members.
22          189. Defendants’ bad faith material breach(es) of the Spectrum Policy, as well
23   as other Class members’ policies, has resulted in actual and substantial damages to the
24   Plaintiff and Civil Authority Coverage Class members, depriving all of the benefit of
25   their bargain, and represents, in addition to warranting contractual damages, incidental
26   damages, and consequential damages, an independent tort entitling Plaintiff and other
27   Class Members to punitive damages in an amount which will punish the Defendants
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 1   for their intentional, grossly negligent, and/or reckless conduct as well as to deter
 2   Defendants and others from similar misconduct in the future.
 3         WHEREFORE, Plaintiff, both individually and on behalf of other Class
 4   members, seeks compensatory damages, contractual damages, incidental damages,
 5   consequential damages, and punitive damages, resulting from Defendants’ bad faith
 6   breach(es) of the Spectrum Policy and other Class Members’ policies, and seek all
 7   other relief deemed appropriate by this Court.
 8
                                     PRAYER FOR RELIEF
 9
10         WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in
11   its favor and against Defendants, as follows:
12         A.     Entering an order certifying the proposed Classes, designating Plaintiff as
13   Class representatives for each of the Classes, and appointing Plaintiff’s attorneys as
14   Counsel for the Classes;
15         B.     Entering declaratory judgments on Counts I, IV, and VII in favor of
16   Plaintiff and the members of the Business Income Coverage Class, Extended Business
17   Income Coverage Class and Civil Authority Coverage Class as follows:
18                a. That all Business Income and Extra Expense, Civil Authority and
19                   Extended Business Income losses and expenses incurred and sustained
20                   based on the facts and circumstances set forth above are insured and
21                   covered losses and expenses under Plaintiff’s and Class members’
22                   policies; and
23                b. Defendants are obligated to pay for the full amount of the Business
24                   Income and Extra Expense, Civil Authority and Extended Business
25                   Income losses and expenses sustained and incurred, and to be sustained
26                   and incurred, based on the facts and circumstances set forth above are
27                   insured and covered losses and expenses under Plaintiff’s and Class
28                   members’ policies;

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 1         C.     Entering judgments on counts II, V, and VIII in favor of Plaintiff and the
 2   members of the Business Income Coverage Class, Extended Business Income
 3   Coverage Class and Civil Authority Coverage Class, and awarding damages for breach
 4   of contract in an amount to be determined at trial;
 5         D.     Entering judgments on counts III, VI, IX in favor of the Plaintiff and the
 6   members of the Business Income Coverage Class, Extended Business Income
 7   Coverage Class and Civil Authority Coverage Class, and awarding compensatory
 8   damages, incidental damages, consequential damages, and punitive damages for the
 9   Defendants’ bad faith material breach(es) in an amount to be determined at trial;
10         E.     An order requiring Defendants to pay both pre- and post-judgment interest
11   on any amounts awarded; and
12         F.     Such other or further relief as may be appropriate.
13                              DEMAND FOR JURY TRIAL
14         The undersigned hereby demands a trial by jury as to all issues so triable.
15
16    Dated: December 1, 2020                Respectfully submitted,
17
                                             /s/ M. Elizabeth Graham
18                                           M. Elizabeth Graham, CA 143085
19                                           Adam J. Gomez**
                                             Grant & Eisenhofer P.A.
20                                           One Market Street
21                                           Spear Tower, Suite 3600
                                             San Francisco, CA 94105
22                                           T: (415) 293-8210
23                                           F: (415) 789-4367
                                             egraham@gelaw.com
24                                           agomez@gelaw.com
25
                                             ** Pro Hac Vice Forthcoming
26                                           Attorneys for Plaintiff and the Putative
27                                           Class
28

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